
Appeal No. 35474 from Judgment dated September 17, 1993; R.B. Reeves, Jr., Ruling Judge, Pike County Chancery Court.
James H. Herring, Herring Long &amp; Ward, Canton, John H. White, Jr., McComb, for Appellants.
F. Douglas Montague, III, Montague Pittman &amp; Vamado, Hattiesburg, for Appellee.
Before FRAISER, C. J., and COLEMAN and McMILLIN, JJ.
Affirmed.
BRIDGES and THOMAS, P.JJ., and BARBER, DIAZ and KING, JJ., concur.
PAYNE and SOUTHWICK, JJ., not participating.
